                 Case:19-16509-MER Doc#:6 Filed:07/30/19                                         Entered:07/30/19 18:44:51 Page1 of 3

 Fill in this information to identify your case:

  Debtor 1                   Anthony                                  Lupo
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                          District of Colorado

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral             What do you intend to do with the property that secures a Did you claim the property as
                                                                           debt?                                                     exempt on Schedule C?

    Creditor’s                                                             ❑ Surrender the property.                                      ❑ No
    name:                 Freedom Mortgage
                                                                           ❑ Retain the property and redeem it.                           ✔ Yes
                                                                                                                                          ❑
    Description of
    property
                          683 Ladore St Grand Jct, CO 81504-5586
                                                                           ❑ Retain the property and enter into a
                                                                                   Reaffirmation Agreement.
                                                                           ✔ Retain the property and [explain]:
    securing debt:
                                                                           ❑
                                                                                   Pay




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                               page 1
                 Case:19-16509-MER Doc#:6 Filed:07/30/19                                  Entered:07/30/19 18:44:51 Page2 of 3

 Debtor 1            Anthony                                     Lupo                                          Case number (if known)
                     First Name          Middle Name              Last Name




         Additional Page for Part 1

Creditor’s                                                         ❑ Surrender the property.                                  ❑ No
name:               Club Wyndham Plus
                                                                   ❑ Retain the property and redeem it.                       ❑ Yes
Description of
property
                    6277 Sea Harbor Dr Orlando, FL
                    32821-8043
                                                                   ❑ Retain the property and enter into a
                                                                        Reaffirmation Agreement.
                                                                   ✔ Retain the property and [explain]:
securing debt:
                                                                   ❑
                                                                        Pay




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                      page
               Case:19-16509-MER Doc#:6 Filed:07/30/19                                     Entered:07/30/19 18:44:51 Page3 of 3

 Debtor 1             Anthony                                     Lupo                                            Case number (if known)
                      First Name            Middle Name           Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘                        /s/ Anthony Lupo                         ✘
    Signature of Debtor 1                                              Signature of Debtor 2


    Date 07/30/2019                                                    Date
            MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                                               page 2
